             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                       1:21-cr-77-MR-WCM

UNITED STATES OF AMERICA                                   )
                                                           )
v.                                                         )    ORDER
                                                           )
JOHN ALBERT SLAGEL                                         )
                                                           )
                                                           )

      This matter is before the Court on the Motion for Admission Pro Hac

Vice and Affidavit (Doc. 6) filed by Sean Devereux. The Motion indicates that

Mr. Devereux, a member in good standing of the Bar of this Court, is local

counsel for John Albert Slagel and that he seeks the admission of Michael

Monico. The Motion represents that Mr. Monico is a member in good standing

of the Bar of the State of Illinois.         It further appears that the requisite

admission fee has been paid.

      Accordingly, the Court GRANTS the Motion (Doc. 6) and ADMITS

Michael Monico to practice pro hac vice before the Court in this matter while

associated with local counsel.


                                 Signed: October 5, 2021




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